                                      UNITED STATES DISTRICT COURT
                                               WESTERN DISTRICT OF MISSOURI
                                                    SOUTHERN DIVISION

 UNITED STATES OF AMERICA                                                 §      JUDGMENT IN A CRIMINAL CASE
                                                                          §
 v.                                                                       §
                                                                          §      Case Number: 21-03067-01-CR-S-BCW
 DAVID PANBEHCHI                                                          §      USM Number: 46919-509
                                                                          §      Ian A. Lewis
                                                                          §      Defendant’s Attorney

THE DEFENDANT:
 ☒ pleaded guilty to count(s) 1 on 4/14/22 before a U.S. Magistrate Judge, which was accepted by the court.

The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                                    Offense Ended       Count
 18 U.S.C. § 924(a)(1)(A) Knowingly Making a False Statement and Representation to a Firearms           08/11/2020          1
 Dealer in Order to Purchase a Firearm




The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

 ☐ The defendant has been found not guilty on count(s)
 ☒ Count(s) 2 ☒ is ☐ are dismissed on the motion of the United States

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.


                                                                   March 1, 2023
                                                                   Date of Imposition of Judgment




                                                                     /s/ Brian C. Wimes
                                                                   Signature of Judge

                                                                   Brian C. Wimes
                                                                   UNITED STATES DISTRICT JUDGE
                                                                   Name and Title of Judge

                                                                   March 1, 2023
                                                                   Date




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DEFENDANT:                 DAVID PANBEHCHI
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                                                          PROBATION
The defendant is hereby sentenced to probation for a term of:

5 years as to count 1.

                                             MANDATORY CONDITIONS

 1.    You must not commit another federal, state or local crime.
 2.    You must not unlawfully possess a controlled substance.
 3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
       release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

            ☐ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of
                  future substance abuse. (check if applicable)
 4.    ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 5.    ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
            seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
            you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 6.    ☐ You must participate in an approved program for domestic violence. (check if applicable)
 7.    ☐ You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check if
            applicable)
 8.    ☐ You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
 9.  ☐ If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.
 10. ☐ You must notify the court of any material change in your economic circumstances that might affect your ability to pay
            restitution, fines, or special assessments.

          You must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.




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                                 STANDARD CONDITIONS OF PROBATION
As part of your probation, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by
probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a
written copy of this judgment containing these conditions. I understand additional information regarding these
conditions is available at www.mow.uscourts.gov.

 Defendant’s Signature                                                                             Date




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                                  SPECIAL CONDITIONS OF PROBATION

    a)   You shall submit your person and any property, house, residence, office, vehicle, papers, computer, other electronic
         communication or data storage devices or media and effects to a search, conducted by a U.S. Probation Officer at a
         reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a
         condition of release; failure to submit to a search may be grounds for revocation; you shall warn any other residents that the
         premises may be subject to searches pursuant to this condition.

    b) You shall consent to the United States Probation Office conducting periodic unannounced examinations of your cellular
       telephone or other electronic devices which may include retrieval and copying of all data from these devices. This also
       includes the removal of such devices, if necessary, for the purpose of conducting a more thorough inspection.

    c)   You shall successfully participate in any outpatient or inpatient substance abuse counseling program, which may include
         urinalysis, sweat patch, or alcohol breath testing, as approved by the Probation Office and pay any associated costs as
         directed by the Probation Office.

    d) You shall successfully participate in any mental health counseling program as approved by the Probation Office, and pay any
       associated costs, as directed by the Probation Office.

    e)   You shall provide the Probation Office with access to any requested financial information.




                                        ACKNOWLEDGMENT OF CONDITIONS

I have read or have read the conditions of supervision set forth in this judgment and I fully understand them. I have
been provided a copy of them.

I understand that upon finding of a violation of probation or supervised release, the Court may (1) revoke supervision,
(2) extend the term of supervision, and/or (3) modify the conditions of supervision. I understand additional
information regarding these conditions is available at the www.mow.uscourts.gov.

_______________________________________                    ____________________
Defendant                                                  Date

________________________________________                   ____________________
United States Probation Officer                            Date




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                                          CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments page.
                      Assessment             Restitution               Fine      AVAA Assessment*                              JVTA Assessment**
   TOTALS                 $100.00                   $.00               $.00                      $.00

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.




                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

        ☒ Special instructions regarding the payment of criminal monetary penalties:
              It is ordered that the Defendant shall pay to the United States a special assessment of $100.00 for Count 1, which
              shall be due immediately. Said special assessment shall be paid to the Clerk, U.S. District Court.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5)
fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution
and court costs.




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